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 4   Attorneys for Defendant: KEVIN EISERT
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 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                     )     Crim. S-05-201 GEB
11                                                 )
                                      Plaintiff,   )
12                                                 ) STIPULATION AND ORDER
                         v.                        )        THEREON
13                                                 )
     KEVIN EISERT,                                 )
14                                                 )
                                    Defendant,     )
15                                                 )
16           It is hereby stipulated between counsel for the government and the defendant that
17   the presently-scheduled date for voluntary surrender may be continued from April 14,
18   2006 to April 28, 2006. This request is made to permit the Bureau of Prison to
19   reconsider defendant’s place of confinement. This re-designation is requested to permit
20   a place of confinement closer to the defendant’s seriously ill daughter. The defendant,
21   his immediate family and more particularly his daughter are residents of Northern
22   /////
23   /////
24   /////
25   /////
26   /////
27   /////
28   /////
        Case 2:05-cr-00201-GEB Document 61 Filed 04/17/06 Page 2 of 2


 1   California. This second request for reconsideration is made necessary because of an
 2   error in drafting be defendant’s counsel.
 3   Dated: April 14, 2006                            Dated: April 14, 2006
 4   /s/ Steven D. Bauer                              /s/ Ellen V. Endrizzi
 5
     STEVEN D. BAUER                                  ELLEN V. ENDRIZZI
 6   Attorney at Law                                  Assistant United States Attorney
 7
 8
     For Good Cause Appearing:
 9   IT IS SO ORDERED
10   Dated: April 14, 2006
11
                                            /s/ Garland E. Burrell, Jr.
12                                          GARLAND E. BURRELL, JR.
                                            United States District Judge
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